                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE:                                       : Case No. 1:23-bk-00988-HWV
       UPTOWN PARTNERS, LP                    :
                                              :      Chapter 11
                 Debtor                       :

        MOTION FOR ORDER AUTHORIZING EXAMINATION OF A
   REPRESENTATIVE FOR THE CITY OF HARRISBURG AND DIRECTING
  THE PRODUCTION OF DOCUMENTS PURSUANT TO BANKRUPTCY RULE
                             2004

        The Motion of Uptown Partners, LP (“Debtor” or “Movant”), for an Order

 Authorizing the Examination of a Representative of the City of Harrisburg and Directing

 the Production of Documents Pursuant to Bankruptcy Rule 2004, from the City of

 Harrisburg (the “Motion”), is as follows:

        1.       This Court has subject matter jurisdiction to consider this matter pursuant to

 28 U.S.C. §§157(b) and 1334. This is a core proceeding within the meaning of 28

 U.S.C.§157(b).

        2.       Venue in this Court is proper pursuant to 28 U.S.C. §§1408 and 1409.

        3.       The statutory predicate for the relief requested herein is Section 105(a) of the

 Bankruptcy Code, Rule 2004 and Local Rules 2004-1 and 9013-1.

        4.       On May 2, 2023, the Debtor filed a voluntary Petition for relief under Chapter

 7 of the United States Bankruptcy Code (the “Petition Date”). On September 12, 2023, the

 case was converted to a case under Chapter 11 of the Bankruptcy Code. As a result thereof,

 the Debtor has been appointed a Debtor-in-Possession and manages its assets and operates

 its business.




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        5.     On November 1, 2023, the Debtor filed a Motion to Approve Procedures and

 for Authority to Sell its real property (the “Auction Motion”) located in the City of

 Harrisburg, Dauphin County, Pennsylvania, containing Tax Parcels 10-026-064; 10-026-

 07; 10-026-051; 10-026-91; 10-026-091; 10-026-88; 10-026-93; 11-005-083; 11-004-066;

 11-004-068; 11-004-019; 11-010-003; 11-010-006; 11-010-129; 10-026-91; 10-026-033;

 10-033-055; 10-033-030; 10-033-020; 10-033-015; 10-026-048; 10-032-37, 49 & 52; 10-

 032-045; 10-032-038 & 10-025-072; 10-040-001; 10-040-021, 026, 029, 033, 037, 041 &

 045; 10-033-034; 10-033-044; 10-033-056; 10-026-030; and 10-040-051 (the “Real

 Property”).

        6.     On November 7, 2023, the City of Harrisburg (the “City”) and the Harrisburg

 Redevelopment Authority (“RA”) (collectively the “Objectors”) jointly objected to the

 Debtor’s Auction Motion (the “Auction Motion Objection”).

        7.     The Auction Motion Objection indicates that “there are approximately 600

 code violations and fines by the Debtor in connection with their operation” and that the

 Objectors objected to the Auction Motion because the “legal effect of the prior code

 violations and (possibly corresponding fines) may not be divested by the sale.”

        8.     On November 9, 2023, this Court entered an order approving the Auction

 Motion to allow the Debtor to Conduct an auction sale of the Real Property.

        9.     On January 17, 2024, the Debtor filed a Motion to Approve Auction

 Purchaser of Real Property Free and Cleal of All Liens, Claims, Encumbrances and Other

 Interests (the “Final Sale Motion”).




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        10.     In response to the Final Sale Motion, the City, along with the RA filed a Joint

 Objection to the Debtor’s Motion to Approve Auction Purchase (the “Final Sale Motion

 Objection”).

        11.     The Final Sale Motion Objection states:

                   a. “There are roughly 600 outstanding citations for violations of the

                       International Property Maintenance Code and Building Code,” and

                   b. “The Objectors object to the Motion and Auction Sale as follows: …

                       the Debtor must describe in detail all legal and equitable non-

                       monetary claims, encumbrances, and/or interests it is seeking to

                       divest, discharge, remove or affect in any way before any sale can be

                       approved.”

        12.     The City has a claim in the Debtors Chapter 11 Case in the amount of

 $123,275.53.

        13.     The City of Harrisburg has asserted on multiple occasions that remedying the

 International Property Maintenance Code and Building Code violations (the “Code

 Violations”) and satisfaction of any associated fines are critical to the sale of the Real

 Property. Many of the citations relate to lawn cutting, weeds or trash.

        14.     Despite numerous requests by the Debtor and by possible buyers of the Real

 Property, to date the City of Harrisburg has not provided the Debtor with a list of Citations,

 specific Code violations or associated fines. The Debtor and possible buyers specifically

 requested a list of those alleged Code Violations which the City contends are crucial to the

 alleged required remediation of the Real Property.



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        15.    The Debtor believes, and therefore alleges that the list of crucial Code

 Violations have previously been provided by the City to one or more other possible buyers.

        16.    In addition, each proposed buyer desires to assume the existing loans given

 by the RA to the Debtor. In order to assume such loans, approval of the United States

 Department of Housing and Urban Development (“HUD”) is necessary.

        17.    One of the items required for HUD approval is that a proposed buyer submit

 a proposal as to the remediation or repairs of the Real Property. Because the City will not

 provide, to any of the current proposed buyers, the list of Code Violations, such submission

 to HUD is impaired and difficult to perform.

        18.    The Debtor believes, and therefore alleges that the actions of the City may

 be designed to prevent a sale to any of the Debtor’s proposed buyers.

        19.    In addition, WinnResidential Limited Partnership, the Debtor’s management

 company has filed a Motion regarding Assuming or Rejecting its agreement with the

 Debtor.

        20.    At a hearing on July 9, 2024, WinnResidential Limited Partnership stated

 that it had been recently served with City citations.

        21.    The hearing on the Motion filed by WinnResidential Limited Partnership has

 been continued for sixty (60) days.

        22.    In order to facilitate the Debtor’s defense as to the WinnResidential Limited

 Partnership’s Motion it is necessary for the Debtor to obtain the number and nature of the

 citations from the City to WinnResidential Limited Partnership in the last 2 years.




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         23.   Rule 2004 provides that upon the request of any party in interest, the Court

 may direct the examination of and production of documents by any entity pertaining to:

               the acts, conduct, or property or to the liabilities and financial
               condition of the debtor, or to any matter which may affect the
               administration of the debtor’s estate, or to the debtor’s right to
               a discharge. In a . . . reorganization case under Chapter 11 of
               the Code . . . the examination may also relate to the operation
               of any business and the desirability of its continuance, the
               source of any money or property acquired or to be acquired by
               the debtor for purposes of consummating a plan and the
               consideration given or offered therefor, and any other matter
               relevant to the case or to the formulation of a plan.

 Fed.R.Bankr.P. 2004(b). Examinations under Rule 2004(a) and (c) may include within

 their scope, among other things: any manner which may relate to the property and assets

 of the estate; the financial condition of a debtor; and any matter which may affect the

 administration of a debtor’s estate. Further, subsection (c) of Rule 2004 provides that

 production of documentary evidence may be compelled.

         24.   The purpose of a Rule 2004 Examination is to show the condition of the

 estate whereby parties can discover the extent or whereabouts of the estate, and as to the

 acts and conduct of property and liabilities and financial condition of the estate. Thus, the

 documents and testimony sought by the Debtor/Movant are within the scope of a Rule 2004

 Exam.

         25.   As set forth above, there are certain issues that the Debtor believes require

 further investigation to allow for the sale of the Real Property, including, but not limited

 to, the citations issued to the Debtor and WinnResidential Limited Partnership for alleged

 Code Violations. Accordingly, Movants request the Court approve this Motion to compel




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 the Debtor to answer questions under oath and to produce the requested documents set forth

 herein.

           26.   The Objectors have asserted that “the Debtor must describe in detail all legal

 and equitable non-monetary claims, encumbrances, and/or interests it is seeking to divest,

 discharge, remove or affect in any way before any sale can be approved,” however, Debtor

 does not have sufficient information to determine if it can or has satisfied the Objectors’

 requests.

           27.   The Debtor/Movant believes that as part of the Examination of a

 representative of the City of Harrisburg, certain documents are needed. The documents

 requested by the Movants are set forth on Exhibit “A” attached hereto and made a part

 hereof.

           WHEREFORE, Uptown Partners, LP respectfully request this Honorable Court

 enter an Order authorizing the examination of a representative of the City of Harrisburg

 and production of the documents requested by the Debtor/Movant.

                                                    Respectfully submitted,

                                                    CUNNINGHAM, CHERNICOFF
                                                    & WARSHAWSKY, P.C.

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